IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

UNITED STATES OF AMERICA,
Plaintiff

V.
CIVIL ACTION NO.
0.29645317 BITCOIN; $6857.00 IN 3:22-CV-00149-TCB
UNITED STATES CURRENCY;
0.1385109 BITCOIN; AND 290.60903
KYBER NETWORK COINS.
Defendant Property

And

JEREMY HAMILTON,
Claimant

CLAIMANT JEREMY HAMILTON’S ANSWER TO PLAINTIFF’S
COMPLAINT FOR FORFEITURE AS TO 0.29645317 BITCOIN; $6857.00
IN UNITED STATES CURRENCY; 0.1385109 BITCOIN; AND 290.60903
KYBER NETWORK COINS, ONLY
COMES NOW the Defendant Property and Claimant JEREMY
HAMILTON, and, pursuant to Rule G of the Supplemental Rules for Certain
Admiralty and Maritime Claims and Rule 12(a) and (b)(6) of the Federal Rules of
Civil Procedure, hereby answer’s Plaintiff's Amended Complaint for Forfeiture
and shows as follows:
FIRST DEFENSE

Plaintiffs Complaint fails to state a claim upon which relief may be granted.

SECOND DEFENSE

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The Court lacks jurisdiction over the subject matter of this Complaint.
THIRD DEFENSE
The Complaint on its face fails to state probable cause for the Defendant
properties’ seizure as required by 18 USC §981.
FOURTH DEFENSE
The Complaint on its face fails to state probable cause for the Defendant
properties seizure as required by 21 USC §881.
FIFTH DEFENSE
The seizure of the Defendant’s Property was based upon an unlawful search
and seizure by state and/or federal authorities in violation of the Fourth
Amendment to the United States Constitution.
SIXTH DEFENSE
The property was seized in violation of the provisions of the Eighth
Amendment.
SEVENTH DEFENSE
By way of specific answer to the allegations contained in Plaintiff's
Complaint, Defendant Property and Owner/Claimant show as follows:

1. Claimant admits that the property was seized; but, for want of sufficient
information upon which to base an answer, the Claimant can neither admit
nor deny any other allegations contained in paragraphs | and 3-5 of the
Complaint.

. Paragraphs 6-8 is a statement of the jurisdictional basis and venue for
Plaintiff's Complaint, not an allegation of fact for which an answer is
required, but if an answer is required paragraphs 6-8 of the Complaint are
denied.

. The Claimant denies the allegations in paragraphs 2, 9-10, 24-26 and
demands strict proof thereof.

. The statements relied upon by the Government in paragraphs 16-21 weren’t
knowingly or voluntarily made by Claimant and were elicited in violation of
his rights under the 5" and 6" Amendments to the United States
Constitution.

. Claimant is without sufficient information or knowledge to either admit

or deny the allegations contained in paragraph 12-15, 22-23, 27-28, 30-32,
35, 39-41 of the Complaint.

. Claimant admits the allegations contained in paragraphs 11, 14, 29, 33, 36-

38, of the complaint.
. Claimant admits that the online wallets containing cryptocurrency were

seized as described in paragraph 34, and 42-43 but is without sufficient
information upon which to answer the rest of this paragraph of the
complaint.
WHEREFORE, the Claimant prays that:

(a) Plaintiff takes nothing by its Complaint;

(b) The Defendant property is returned to Claimant forthwith;

(c) These issues are tried by a jury;

(d) The Court award Claimant reasonable costs and attorney’s fees; and

(e) For such other and further relief as is just and equitable.

This 3 day of January, 2023.
Respectfully submitted,
/s/ Bruce S. Harvey
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ATTORNEYS FOR CLAIMANT
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Bruce S. Harvey, #335175
146 Nassau Street
Atlanta, Georgia 30303
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CERTIFICATE OF SERVICE
This is to certify that I have this day served a copy of the within and
foregoing pleading upon opposing counsel by e-filing, facsimile transmission, hand
delivery or by depositing a copy of same in the United States Mail with sufficient

postage attached thereon, addressed as follows:

Cynthia B. Smith, AUSA
600 Richard Russell Building
75 Spring Street, SW
Atlanta, Georgia 30303

This 3 day of January, 2023.

/s/ Bruce S. Harvey

LAW OFFICE OF BRUCE S. HARVEY
ATTORNEYS FOR CLAIMANT

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VERIFICATION
I, Jeremy Hamilton, have read the foregoing and pursuant to 28 USC §1746,

declare under penalty of perjury that it is true and correct.

Executed on: __ O| l 03/23

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Jerémy Hahilton
